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Cash Collateral Budget WE 3/24                                                   Week 1
Mountain Express Oil                                                            Forecast
($ in '000s)                                                                   24-Mar-23
Operating Receipts
 Net Fuel Profit                                                                     $2,771
 Rent Income                                                                              –
 Net Retail Supporting Operations                                                     (411)
Total Operating Receipts                                                             $2,360
Operating Disbursements
 Rent Expense                                                                              –
 Payroll & Benefits                                                                        –
 Vendor Disbursements [1]                                                            (6,000)
 Utilities & Insurance                                                                   (3)
 Other Operating Disbursements                                                          (15)
Total Operating Costs                                                              ($6,018)
Operating Cash Flow                                                                ($3,657)
Non-Restructuring Related
 Inventory                                                                              300
 Capital Expenditures                                                                     –
 Funded Debt                                                                              –
Total Non-Restructuring Related                                                        $300
Restructuring Related
 Restructuring Fees                                                                        –
 Other Restructuring Related                                                               –
Total Restructuring Related                                                                –
Net Cash Flow                                                                      ($3,357)

Cash (Unrestricted)
 Beginning Balance [2]                                                               $3,696
 Net Cash Flow                                                                       (3,357)
Ending Unrestricted Cash Balance                                                       $339

[1]: Vendor disbursements of $6.0 million above solely reflect the postpetition purchase of
fuel. Such fuel will improve the collateral position of the Prepetition Lenders. The Debtors
expect to sell such fuel at a profit during this week and subsequent weeks of the Budget.
[2]: The beginning cash balance does not include $6.648 million hedge termination
payment.
